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UNITED sTATss op AMERICA W@[YEWLWWH%

Plaintiff,
vs. cR. No. 05-20205-M1
CHRIS NEWTON

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on August 30, 2005, the United States
Attorney for this district, Tim DiScenza, appearing for the Government and
the defendant, Chris Newton, appearing in person and with counsel, Thomas
Greenholtz, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty as to Counts 1 and 2 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for WEDNESDAY, FEBRUARY 22, 2006, at
9=00 a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps
McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the SESQ day of August, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT J'UDGE

 

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August 31, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

